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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
UNITED STATES OF AMERICA            )
                                    )
      v.                            )                  Criminal No. 21-0507 (PLF)
                                    )
STEPHANIE MARYLOU BAEZ,             )
                                    )
            Defendant.              )
____________________________________)


                                      SCHEDULING ORDER

               On June 9, 2022, at defendant Stephanie Baez’s request, the Court scheduled a

four-day bench trial in this case, to begin on November 29, 2022. See June 9, 2022 Minute

Entry. The Court ordered the parties to meet and confer and to submit a joint status report with a

proposed schedule for further status conferences and the filing of pretrial motions, including any

motions to dismiss the case, motions for change of venue, motions in limine, and Daubert

motions. See id. On July 15, 2022, the parties jointly submitted a proposed scheduling order

that set forth proposed dates for an additional status conference, the final pretrial conference, the

filing of pretrial motions, the exchange of exhibit lists and witness lists, the disclosure of expert

witnesses, and the final disclosure of Brady and Rule 404(b) evidence. See Notice of

Submission of Joint Proposed Scheduling Order [Dkt. No. 25].

               After careful consideration of the parties’ proposed scheduling order, the Court

adopts some aspects of the parties’ joint proposed schedule, but is unable to accommodate

others. Accordingly, it is hereby

               ORDERED that the proceedings in this case shall be governed by the following

schedule:
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       1.      TRIAL. A bench trial in this matter will commence on November 29, 2022, at

10:00 a.m. in Courtroom 29 in the William B. Bryan Annex to the E. Barrett Prettyman

Courthouse with opening statements and will continue each weekday at 10:00 a.m. until

concluded.

       2.      STATUS CONFERENCE. A status conference will be held on September 23,

2022, at 2:00 p.m., via Zoom videoconference.

       3.      FINAL PRETRIAL CONFERENCE. The final pretrial conference will be held

on November 14, 2022, at 10:30 a.m. via Zoom videoconference. The Court will rule on any

objections to proposed exhibits, see infra ¶ 10, to the extent possible at the pretrial conference,

hearing argument as necessary.

       4.      MOTIONS TO SUPPRESS. Any motions to suppress statements or tangible

evidence shall be filed on or before September 2, 2022. Oppositions to motions to suppress shall

be filed on or before September 16, 2022, and any replies in support of motions to suppress shall

be filed on or before September 23, 2022. The Court will hear any witness testimony, consider

non-testimonial evidence, and hear oral argument on any motions to suppress on October 3,

2022, at 10:30 a.m. If witness testimony will be required, the Court will convene an in-person or

hybrid hearing. Otherwise, the Court will convene via Zoom videoconference.

       5.      PRETRIAL MOTIONS. Any pretrial motions raising purely legal issues –

including but not limited to motions to dismiss the case and motions for change of venue – shall

be filed on or before September 16, 2022. Oppositions to any such pretrial motions shall be filed

on or before September 30, 2022, and any replies in support of such pretrial motions shall be

filed on or before October 7, 2022. The Court will hear any argument on any such pretrial

motions on October 14, 2022, at 10:00 a.m. via Zoom videoconference.




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       6.      EXPERT WITNESSES. The parties shall disclose any expert witnesses

accompanied by a brief description of each witness’s area of expertise and expected testimony on

or before September 30, 2022.

       7.      MOTIONS IN LIMINE AND DAUBERT MOTIONS. Any motions in limine

and Daubert motions shall be filed on or before October 7, 2022. Oppositions to any such

motions shall be filed on or before October 21, 2022, and any replies in support of such motions

shall be filed on or before October 28, 2022. The Court will hear any argument on any motions

in limine and Daubert motions on November 10, 2022, at 2:00 p.m. If witness testimony will be

required to resolve any Daubert motions, the Court will convene an in-person or hybrid hearing.

Otherwise, the Court will convene via Zoom videoconference.

       8.      RULE 404(B) NOTICE. The United States shall provide notice to Ms. Baez of

any evidence it intends to offer pursuant to Rule 404(b) of the Federal Rules of Evidence on or

before October 21, 2022.

       9.      BRADY AND GIGLIO EVIDENCE. The United States is under a continuing

and ongoing obligation to provide defense counsel any favorable or exculpatory information

(Brady) as it becomes available, whether it is admissible or not. Brady information must be

disclosed on a rolling basis as “the duty to disclose is ongoing.” Pennsylvania v. Ritchie, 480

U.S. 39, 60 (1987); see also LCrR 5.1(a) (“[T]he government shall make good-faith efforts to

disclose [Brady] information to the defense as soon as reasonably possible after its existence is

known, so as to enable the defense to make effective use of the disclosed information in the

preparation of its case.” (emphasis added)). The Court hereby admonishes the United States that

it is bound by this Court’s rulings regarding the definition of exculpatory information and the

government’s obligation to timely disclose any such exculpatory information. See United States




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v. Safavian, 233 F.R.D. 12, 16 (D.D.C. 2005) (“[T]he government must always produce any

potentially exculpatory or otherwise favorable evidence without regard to how the withholding

of such evidence might be viewed – with the benefit of hindsight – as affecting the outcome of

trial.” In addition, to the extent it has not already done so, the United States must disclose

information that may be useful for impeachment or may otherwise affect the credibility of any

government witness (Giglio) – including Lewis material – on or before November 15, 2022. See

United States v. Celis, 608 F.3d 818, 835-36 (D.C. Cir. 2010). Giglio obligations are also

ongoing. The United States may request a protective order to preclude defense counsel from

sharing Giglio information with Ms. Baez or others.

       10.     EXHIBIT LISTS. The parties shall exchange lists of exhibits they intend to use

in their cases-in-chief on or before October 31, 2022. The written exhibit lists must contain a

brief description of each exhibit. The parties shall file any objections to the admissibility of

exhibits, to the extent practicable, on or before November 7, 2022. All exhibits are to be marked

in advance of trial and listed in order on the exhibit form obtained from the Courtroom Deputy

Clerk. On or before November 23, 2022, counsel shall furnish opposing counsel with a copy of

their pre-marked exhibits and shall deliver to the Court two sets of binders containing their

exhibit lists and copies of their pre-marked exhibits.

       11.     WITNESS LISTS. The parties shall exchange lists of witnesses intended to be

called in their cases-in-chief on or before November 15, 2022. On that date, the United States

shall also provide to Ms. Baez all Brady or Giglio material not previously disclosed pertaining to

each witness on its witness list. Counsel will not be limited to calling only those witnesses listed

and will not be required to call their witnesses in the sequence listed. In some cases, security

concerns may justify nonidentification of witnesses by the United States until shortly before they




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are called to testify. In this situation, the United States will include the number of unidentified

witnesses in its witness list and separately identify those witnesses in a filing under seal.

Defense counsel shall not publicly disseminate the names of those witnesses.

               In summary, this case will proceed pursuant to the following schedule:

               Date                     Description

               September 2, 2022        The parties shall file any motions to
                                        suppress statements or tangible evidence.
                                        See supra ¶ 4.

               September 16, 2022       The parties shall file oppositions to motions
                                        to suppress statements or tangible evidence.
                                        See supra ¶ 4.
                                        The parties shall file any pretrial motions
                                        raising purely legal issues, including but not
                                        limited to motions to dismiss the case and
                                        motions for change of venue. See supra
                                        ¶ 5.

               September 23, 2022       The parties shall file any replies in support
                                        of motions to suppress statements or
                                        tangible evidence. See supra ¶ 4.

               September 23, 2022,      Status Conference. See supra ¶ 2.
               at 2:00 p.m.

               September 30, 2022       The parties shall file oppositions to pretrial
                                        motions raising purely legal issues. See
                                        supra ¶ 5.
                                        The parties shall disclose any expert
                                        witnesses. See supra ¶ 6.

               October 3, 2022,         Motions hearing for any motions to
               at 10:30 a.m.            suppress. See supra ¶ 4.

               October 7, 2022          The parties shall file any replies in support
                                        of pretrial motions raising purely legal
                                        issues. See supra ¶ 5.
                                        The parties shall file any motions in limine
                                        and Daubert motions. See supra ¶ 7.




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   October 14, 2022,    Motions hearing for any pretrial motions
   at 10:00 a.m.        raising purely legal issues. See supra ¶ 5.

   October 21, 2022     The parties shall file oppositions to motions
                        in limine and Daubert motions. See supra
                        ¶ 7.
                        The United States shall provide its Rule
                        404(b) notice to Ms. Baez. See supra ¶ 8.

   October 28, 2022     The parties shall file any replies in support
                        of motions in limine and Daubert motions.
                        See supra ¶ 7.

   October 31, 2022     The parties shall exchange exhibit lists.
                        See supra ¶ 10.

   November 7, 2022     The parties shall file any objections to the
                        admissibility of exhibits, to the extent
                        practicable. See supra ¶ 10.

   November 10, 2022,   Motions hearing for any motions in limine
   at 2:00 p.m.         and Daubert motions. See supra ¶ 7.

   November 14, 2022,   Final Pretrial Conference. See supra ¶ 3.
   at 10:30 a.m.

   November 15, 2022    The parties shall exchange witness lists.
                        See supra ¶ 11.
                        The United States shall provide to Ms. Baez
                        all Brady and Giglio evidence not
                        previously disclosed related to the
                        witnesses on its witness list, as well as any
                        other Brady and Giglio information not
                        previously disclosed. See supra ¶¶ 9, 11.

   November 23, 2022    The parties shall furnish opposing counsel
                        with a copy of their pre-marked exhibits
                        and shall deliver to the Court two sets of
                        exhibit lists and pre-marked exhibits. See
                        supra ¶ 10.




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            November 29, 2022,   Trial will commence in Courtroom 29 in
            at 10:00 a.m.        the William B. Bryant Annex to the E.
                                 Barrett Prettyman Courthouse with opening
                                 statements and will continue each weekday
                                 at 10:00 a.m. until concluded. See supra
                                 ¶ 1.

                                                                          Digitally signed by
            SO ORDERED.
                                                                          Paul L. Friedman
                                                                          Date: 2022.08.05
                                                                          13:35:01 -04'00'
                                                     ___________________________
                                                     PAUL L. FRIEDMAN
                                                     United States District Judge

DATE: August 5, 2022




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